Case 23-17245-RG                     Doc 3         Filed 08/22/23 Entered 08/22/23 13:03:35                                            Desc Main
                                                   Document      Page 1 of 5
  STATISTICAL INFORMATION ONLY: Debtor must select the number of each of the following items included in the Plan.

  _ Valuation of Security            _ Assumption of Executory Contract or Unexpired Lease                                 _ Lien Avoidance




                                                                                                                      Last revised: August 1, 2020
                                                     UNITED STATES BANKRUPTCY COURT
                                                          DISTRICT OF NEW JERSEY

  In Re: Luis Leonardo                                                       Case No.:

  Debtor(s)                                                                  Judge: ___________

                                                            Chapter 13 Plan and Motions

                              Original                      Modified/Notice Required

                              Motions Included              Modified/No Notice Required              Date:   08/22/2023

                                                 THE DEBTOR HAS FILED FOR RELIEF UNDER
                                                  CHAPTER 13 OF THE BANKRUPTCY CODE
                                                       YOUR RIGHTS WILL BE AFFECTED
  You should have received from the court a separate Notice of the Hearing on Confirmation of Plan , which contains the date of the
  confirmation hearing on the Plan proposed by the Debtor. This document is the actual Plan proposed by the Debtor to adjust debts. You
  should read these papers carefully and discuss them with your attorney. Anyone who wishes to oppose any provision of this Plan or any
  motion included in it must file a written objection within the time frame stated in the Notice. Your rights may be affected by this plan. Your claim
  may be reduced, modified, or eliminated. This Plan may be confirmed and become binding, and included motions may be granted without
  further notice or hearing, unless written objection is filed before the deadline stated in the Notice. The Court may confirm this plan, if there are
  no timely filed objections, without further notice. See Bankruptcy Rule 3015. If this plan includes motions to avoid or modify a lien, the lien
  avoidance or modification may take place solely within the chapter 13 confirmation process. The plan confirmation order alone will avoid or
  modify the lien. The debtor need not file a separate motion or adversary proceeding to avoid or modify a lien based on value of the collateral
  or to reduce the interest rate. An affected lien creditor who wishes to contest said treatment must file a timely objection and appear at the
  confirmation hearing to prosecute same.

  The following matters may be of particular importance. Debtors must check one box on each line to state whether the plan includes each of the
  following items. If an item is checked as “Does Not” or if both boxes are checked, the provision will be ineffective if set out later in the plan.


  THIS PLAN:
     DOES         DOES NOT CONTAIN NON-STANDARD PROVISIONS. NON-STANDARD PROVISIONS MUST ALSO BE SET FORTH IN
  PART 10.
      DOES    DOES NOT LIMIT THE AMOUNT OF A SECURED CLAIM BASED SOLELY ON VALUE OF COLLATERAL, WHICH MAY
  RESULTS IN A PARTIAL PAYMENT OR NO PAYMENT AT ALL TO THE SECURED CREDITOR. SEE MOTIONS SET FORTH IN PART 7,
  IF ANY.
    DOES     DOES NOT AVOID A JUDICIAL LIEN OR NONPOSSESSORY, NONPURCHASE-MONEY SECURITY INTEREST. SEE
  MOTIONS SET FORTH IN PART 7, IF ANY.



  Initial Debtor(s)' Attorney: ___                               Initial Debtor: ___                    Initial Co-Debtor: ___
Case 23-17245-RG                    Doc 3             Filed 08/22/23 Entered 08/22/23 13:03:35                                        Desc Main
                                                      Document      Page 2 of 5
    Part 1: Payment and Length of Plan

        a. The debtor shall pay $7,399.52 per Month to the Chapter 13 Trustee, starting on          09/2023 for approximately 84 months.
        b. The debtor shall make plan payments to the Trustee from the following sources:
                        Future earnings

                        Other sources of funding (describe source, amount and date when funds are available):



         c. Use of real property to satisfy plan obligations:
                       Sale of real property

                         Description: ____________________
                         Proposed date for completion: ____________________
                      Refinance of real property:
                         Description: ____________________
                         Proposed date for completion: ____________________
                      Loan modification with respect to mortgage encumbering property:
                         Description: ____________________
                         Proposed date for completion: ____________________
        d.        The regular monthly mortgage payment will continue pending the sale, refinance or loan modification.

        e.        Other information that may be important relating to the payment and length of plan:




    Part 2: Adequate Protection                None

        a. Adequate protection payments will be made in the amount of $ _______________ to be paid to the Chapter 13 Trustee and
        disbursed pre-confirmation to ______________________________ (creditor).
        b. Adequate protection payments will be made in the amount of $ _______________ to be paid directly by the debtor(s) outside the
        Plan, pre-confirmation to: ______________________________ (creditor).


    Part 3: Priority Claims (Including Administrative Expenses)

        a. All allowed priority claims will be paid in full unless the creditor agrees otherwise:

                             Creditor                                     Type of Priority                        Amount to be Paid

  CHAPTER 13 STANDING TRUSTEE                                     ADMINISTRATIVE                    AS ALLOWED BY STATUTE

  ATTORNEY FEE BALANCE                                            ADMINISTRATIVE                    BALANCE DUE: $0.00

  DOMESTIC SUPPORT OBLIGATION                                                                       $0.00

        b. Domestic Support Obligations assigned or owed to a governmental unit and paid less than full amount: Check one:
             None

           The allowed priority claims listed below are based on a domestic support obligation that has been assigned to or is owed to a
        governmental unit and will be paid less than the full amount of the claim pursuant to 11 U.S.C.1322(a)(4):

       Creditor                    Type of Priority                        Claim Amount                            Amount to be Paid




    Part 4: Secured Claims

  a. Curing Default and Maintaining Payments on Principal Residence
      NONE


  The Debtor shall pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly obligations and the debtor shall pay
  directly to the creditor (outside the Plan) monthly obligations due after the bankruptcy filing as follows:

                             Collateral or                          Interest Rate        Amount to be Paid to    Regular Monthly
       Creditor                                     Arrearage
                             Type of Debt                           on Arrearage          Creditor (In Plan)  Payment (Outside Plan)

  Select Portfolio         347 Webster
                                                 $570,762.00 0.00%                      $570,762.00                  $5,869.00
  Servicing, Inc.          Avenue
Case 23-17245-RG                       Doc 3           Filed 08/22/23 Entered 08/22/23 13:03:35                                      Desc Main
                                                       Document      Page 3 of 5
   b. Curing and Maintaining Payments on Non-Principal Residence & other loans or rent arrears:
       NONE


   The Debtor will pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly obligations and the debtor will pay directly
   to the creditor (outside the Plan) monthly obligations due after the bankruptcy filing as follows:

               Collateral or Type of                   Interest Rate on     Amount to be Paid to Creditor (In   Regular Monthly Payment (Outside
  Creditor                             Arrearage
                       Debt                               Arrearage                      Plan)                               Plan)




   c. Secured claims excluded from 11 U.S.C. 506:
       NONE


   The following claims were either incurred within 910 days before the petition date and are secured by a purchase money security interest in
   a motor vehicle acquired for the personal use of the debtor(s), or incurred within one year of the petition date and secured by a purchase
   money security interest in any other thing of value:

   Name of Creditor       Collateral   Interest Rate    Amount of Claim        Total to be Paid Through the Plan Including Interest Calculation




   d. Requests for valuation of security, Cram-down, Strip Off & Interest Rate Adjustments
       NONE


   1.) The debtor values collateral as indicated below. If the claim may be modified under Section 1322(b)(2), the secured creditor shall be paid
   the amount listed as the “Value of the Creditor Interest in Collateral,” plus interest as stated. The portion of any allowed claim that exceeds
   that value shall be treated as an unsecured claim. If a secured claim is identified as having “NO VALUE” it shall be treated as an unsecured
   claim.
                                             NOTE: A modification under this Section ALSO REQUIRES
                                            the appropriate motion to be filed under Section 7 of the Plan.

                           Scheduled      Total Collateral    Superior      Value of Creditor Interest in     Annual Interest   Total Amount to be
  Creditor Collateral
                             Debt             Value            Liens                 Collateral                   Rate                 Paid




  2.) Where the Debtor retains collateral and completes the Plan, payment of the full amount of the allowed secured claim shall discharge the
  corresponding lien.

  e. Surrender
       NONE


  Upon confirmation, the stay is terminated as to surrendered collateral only under 11 U.S.C. 362(a) and that the stay under 11 U.S.C
  1301be terminated in all respects. The Debtor surrenders the following collateral:

    Creditor            Collateral to be Surrendered               Value of Surrendered Collateral                Remaining Unsecured Debt




   f. Secured Claims Unaffected by the Plan      NONE
   The following secured claims are unaffected by the Plan:



  g. Secured Claims to be Paid in Full Through the Plan:          NONE

  Creditor               Collateral                Total Amount to be Paid Through the Plan




    Part 5: Unsecured Claims
        NONE



         a. Not separately classified allowed non-priority unsecured claims shall be paid:
                        Not less than $0.00 to be distributed pro rata

                        Not less than 25.00% percent

                        Pro Rata distribution from any remaining funds
        b. Separately classified unsecured claims shall be treated as follows:
Case 23-17245-RG                    Doc 3         Filed 08/22/23 Entered 08/22/23 13:03:35 Desc Main
      Creditor
                                                   Document
                                    Basis of Separate Classification
                                                                     Page 4 of 5
                                                                            Treatment Amount to be Paid




    Part 6: Executory Contracts and Unexpired Leases
        NONE



   (NOTE: See time limitations set forth in 11 U.S.C. 365(d)(4) that may prevent assumption of non-residential real property leases in this Plan.)
   All executory contracts and unexpired leases are rejected, except the following, which are assumed:

   Creditor      Arrears to be Cured in Plan             Nature of Contract or Lease           Treatment by Debtor        Post-Petition Payment




    Part 7: Motions          NONE

   NOTE: All plans containing motions must be served on all affected creditors, together with local form, Notice of Chapter 13 Plan
   Transmittal, within the time and in the manner set forth in D.N.J. LBR 3015-1. A Certification of Service must be filed with the Clerk of Court
   when the plan and transmittal notice are served.


   a. Motion to Avoid Liens Under 11. U.S.C. Section 522(f).          NONE

   The Debtor moves to avoid the following liens that impair exemptions:


                                                                                                                     Sum of All
                                                                                                    Amount of                          Amount of
                             Nature of                            Amount of       Value of                           Other Liens
   Creditor                                      Type of Lien                                       Claimed                            Lien to be
                             Collateral                           Lien            Collateral                         Against the
                                                                                                    Exemption                          Avoided
                                                                                                                     Property




   b. Motion to Avoid Liens and Reclassify Claim from Secured to Completely Unsecured.
        NONE


  The Debtor moves to reclassify the following claims as unsecured and to void liens on collateral consistent with    Part 4 above:

                         Schedule         Total Collateral      Superior      Value of Creditor’s Interest in        Total Amount of Lien to be
  Creditor Collateral
                           Debt               Value              Liens                  Collateral                          Reclassified




   c. Motion to Partially Void Liens and Reclassify Underlying Claims as Partially Secured and Partially Unsecured.            NONE
   The Debtor moves to reclassify the following claims as partially secured and partially unsecured, and to     void liens on collateral consistent
   with Part 4 above:


  Creditor Collateral Scheduled Debt Total Collateral Value          Amount to be Deemed Secured          Amount to be Reclassified as Unsecured
Case 23-17245-RG                     Doc 3           Filed 08/22/23 Entered 08/22/23 13:03:35                                         Desc Main
                                                     Document      Page 5 of 5
    Part 8: Other Plan Provisions

         a. Vesting of Property of the Estate
                      Upon confirmation

                      Upon discharge
         b. Payment Notices
         Creditors and Lessors provided for in Parts 4, 6 or 7 may continue to mail customary notices or coupons to the Debtor
         notwithstanding the automatic stay.
         c. Order of Distribution
         The Trustee shall pay allowed claims in the following order:
                 1) Ch. 13 Standing Trustee commissions
                 2) ___________________________________________________________
                 3) ___________________________________________________________
                 4) ___________________________________________________________
         d. Post-Petition Claims
         The Trustee       is,    is not authorized to pay post-petition claims filed pursuant to 11 U.S.C. Section 1305(a) in the amount filed by
         the post-petition claimant.


   Part 9: Modification             NONE


         NOTE: Modification of a plan does not require that a separate motion be filed. A modified plan must be served in accordance with
         D.N.J. LBR 3015-2.
         If this Plan modifies a Plan previously filed in this case, complete the information below.
         Date of Plan being Modified: _________________________.


   Explain below why the plan is being modified:                             Explain below how the plan is being modified:



          Are Schedules I and J being filed simultaneously with this Modified Plan?          Yes         No


  Part 10: Non-Standard Provision(s): Signatures Required

  Non-Standard Provisions Requiring Separate Signatures:
      NONE

      Explain here:


  Any non-standard provisions placed elsewhere in this plan are ineffective.




  Signatures



  The Debtor(s) and the attorney for the Debtor(s), if any, must sign this Plan.
  By signing and filing this document, the debtor(s), if not represented by an attorney, or the attorney for the debtor(s) certify that the wording
  and order of the provisions in this Chapter 13 Plan are identical to Local Form, Chapter 13 Plan and Motions, other than any non-standard
  provisions included in Part 10.


  I certify under penalty of perjury that the above is true.
  Date: 08/22/2023                                                                              /s/ Luis Leonardo
                                                                                                Debtor
   Date: 08/22/2023                                                                             /s/
                                                                                                Joint Debtor
  Date: 08/22/2023                                                                              /s/ John Fazzio
                                                                                                Attorney for the Debtor
